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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

BRIAN BELL,

      Plaintiff,

         v.                                             Civil Action No. 1:16-cv-00501-JDL

O’REILLY AUTO ENTERPRISES, LLC d/b/a
O’REILLY AUTO PARTS,

      Defendant.

           PLAINTIFF’S MOTION IN LIMINE REGARDING PRIOR EMPLOYMENT

       Defendant O’Reilly Auto Enterprises, LLC (“O’Reilly”) plans to introduce documents and

testimony relating to Plaintiff Brian Bell’s past employment at AutoZone. The facts relating to Mr.

Bell’s employment with AutoZone are irrelevant and unfairly prejudicial to Mr. Bell. To the extent

that O’Reilly is permitted to offer evidence regarding this prior employment it would lead to a trial

within a trial which would unnecessarily delay this case.

       AutoZone terminated Mr. Bell on July 17, 2014, for the following alleged reasons: improper

conduct and physical contact with a subordinate; improper comments and messages; failure to

prevent or address inappropriate music in the workplace; conduct detrimental to “AutoZoners” and

AutoZone; and loss of confidence. The alleged improper conduct with a subordinate involved an

allegation that Mr. Bell improperly touched a female employee. Mr. Bell vehemently denies this

allegation. The evidence of Mr. Bell’s termination and the reasons for his termination are unfairly

prejudicial because his employment with AutoZone has nothing to do with his employment with

O’Reilly. However, if the Court permitted O’Reilly to introduce evidence of Mr. Bell’s termination

from AutoZone, Mr. Bell would have to explain what happened at AutoZone and present evidence

to mitigate the unfairly prejudicial nature of this evidence.

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       Courts considering this issue have excluded evidence of a plaintiff’s employment prior to

working for the defendant-employer. Zubulake v. UBS Warburg LLC, 382 F. Supp. 2d 536, 540-41

(S.D.N.Y. 2005). In Zubulake, the defendant-employer sought to introduce evidence at trial of a

plaintiff’s poor work performance prior to her employment with the defendant including a negative

performance appraisal. Id. As grounds, the defendant argued that the evidence was relevant to

plaintiff’s character and habit. The Zubulake court noted that the plaintiff’s character is not an issue

in an employment discrimination case and the proposed evidence was propensity evidence

prohibited by Rule 404 and that an employee’s work performance does not contain the degree of

specificity to constitute habit, i.e. a regular response to a repeated specific situation. Id. at 540-542.

On this basis, the Zubulake court excluded the evidence.

       In Neuren v. Adduci, Mastriani, Meeks & Schill, a plaintiff-employee brought suit against

her employer, a law firm, alleging sex discrimination under Title VII. Neuren v. Adduci, Mastriani,

Meeks & Schill, 43 F.3d 1507 (D.C. Cir. 1995). The defendant-employer sought to introduce

evidence at trial regarding the plaintiff’s previous employment at another law firm before coming to

work for the defendant. Id. at 1509-1510. In particular, the defendant sought to introduce evidence

of poor performance and trouble getting along with coworkers arguing that it was character

evidence that tended to show that she had similar issues when she worked for the defendant. Id. The

trial court admitted the evidence and after a verdict for the defendant, the plaintiff appealed and

argued that it was error to admit the evidence from her prior employment. Id. On appeal, the D.C.

Circuit held that the trial court erred in admitting the evidence since it was character evidence for

purposes of Rule 404 that did not meet any exceptions and that it was also not admissible as

impeachment evidence with regard to her statements to her employer regarding this prior

employment. Id. at 1511-1512.


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         Courts considering the relevancy of records of prior employment at the discovery stage of a

case have similarly concluded that the evidence is not even discoverable much less admissible at

trial. See, e.g., Sanders v. Dalcraft LLC, No. 3–09–CV–0307–P, 2009 WL 1392602, at *2

(N.D.Tex. May 18, 2009) (rejecting argument that employment records from plaintiff's former

employer “may show performance deficiencies similar to those relied upon by [the defendant] to

justify termination”); Ireh, 2008 WL 4283344, at *5 (ruling that plaintiff's performance during prior

employment was not relevant to work performed for defendant and that prior employment records

were not likely to lead to discovery of admissible evidence as such evidence would be inadmissible

under Federal Rule of Evidence 404(a)); Maxwell v. Health Center of Lake City, Inc., No. 3:05–

CV–1056–J–32MCR, 2006 WL 1627020, at *4 (M.D.Fla. June 6, 2006) (ruling that plaintiff's

performance at previous jobs was not relevant nor reasonably calculated to lead to admissible

evidence because Rule 404(a) would exclude such evidence); Liles v. Stuart Weitzman, LLC, No.

09-61448-CIV-COHN, 2010 WL 1839229, at *3 (S.D. Fla. May 6, 2010); Chamberlain v.

Farmington Sav. Bank, No. 3:06CV01437 CFD, 2007 WL 2786421, at *3 (D. Conn. Sept. 25,

2007).

         Just like the evidence of prior employment addressed in the cases above, evidence relating to

Mr. Bell’s termination from AutoZone is not relevant or admissible for any purpose. This evidence

does not relate in any way to Mr. Bell’s employment at O’Reilly, his requests for reasonable

accommodations, his termination from O’Reilly, or his damages. Evidence of Mr. Bell’s

termination and alleged misconduct while employed at AutoZone can only be character evidence

which is inadmissible under FRE 404(a). This extrinsic evidence is also not admissible to attack

Bell’s credibility under FRE 608(b).

         O’Reilly has argued that evidence of Mr. Bell’s termination from AutoZone somehow

relates to emotional distress he experienced as a result of O’Reilly’s discrimination. This argument
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lacks merit. AutoZone’s termination of Mr. Bell has no relevance to the emotional distress Mr. Bell

suffered due to O’Reilly’s discrimination against him. There is no evidence that Mr. Bell was still

suffering from any emotional effects of the AutoZone termination when O’Reilly violated his

rights. In fact, his medical records show that he started to feel better emotionally soon after

O’Reilly hired him.O’Reilly argued that the AutoZone termination continued to effect Mr. Bell

because he believed that AutoZone gave him a bad reference but there is no evidence that AutoZone

gave Mr. Bell a bad reference and Mr. Bell had no idea who gave him the bad reference.

       O’Reilly has also argued that the AutoZone termination is relevant because Mr. Bell was

emotionally upset about how his termination from O’Reilly would affect his employability and he

believed that his termination from AutoZone impacted his employability. Mr. Bell does not intend

to offer any evidence about any worries he harbored about his employability. Thus, this argument

lacks merit.

       Even if the evidence regarding AutoZone’s termination of Mr. Bell was relevant in some

way, permitting the evidence would lead to substantial prejudice, confusion, and waste of time.

There are significant factual disputes regarding the reasons for Mr. Bell’s termination from

AutoZone. Permitting this evidence would lead to confusion since a jury will likely have difficulty

distinguishing between the evidence relating to Mr. Bell’s employment with AutoZone and Mr.

Bell’s employment with O’Reilly, in large part, because Mr. Bell held the same position with both

employers. In addition, even though it is expressly precluded under Rule 404, the jury would likely

treat evidence of Mr. Bell’s termination from AutoZone and the alleged reasons for that termination

as character evidence. Indeed, there is a real danger that jurors would look unfavorably upon Mr.

Bell because of AutoZone’s alleged reasons for terminating him since AutoZone did not just cite

poor performance for the termination but went so far as to falsely accuse Mr. Bell of improper

conduct with a female subordinate.
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       For these reasons, evidence of Mr. Bell’s termination from AutoZone and the alleged

reasons for that termination should be excluded at trial.

                                                       Respectfully submitted,

Date: August 26, 2021                                  /s/ Chad T. Hansen____
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                                      CERTIFICATE OF SERVICE

       I certify that I served the foregoing document upon all counsel via the Court’s ECF system.


Date: August 26, 2021                                  /s/ Chad T. Hansen
                                                       Chad T. Hansen




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